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From:                  William Moore
Sent:                  Thursday, June 23, 2022 4:28 PM
To:                    cybersecurity@takeda.com; Di Leo, Gerardo
Subject:               RE: Potential Fraud Event - URGENT - 2nd request


Hi John,

Thank you for the quick response. Please speaking with you as well. Just looking out for Takeda. Good to hear the
transactions are legitimate.

I will look into the email issue.

Thanks again,
Bill


William Moore
Chief Risk Officer
30 Pond Street, Sharon MA 02067
P 781-793-2876 F 781-793-2876
www.scucu.com




*Note: My email address domain has changed to scucu.com. Please update your records.

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From: cybersecurity@takeda.com <cybersecurity@takeda.com>
Sent: Thursday, June 23, 2022 4:03 PM
To: William Moore <WMoore@scucu.com>; Di Leo, Gerardo <Gerardo.DiLeo@takeda.com>
Subject: RE: Potential Fraud Event ‐ URGENT ‐ 2nd request

     EXTERNAL EMAIL: This email originated from outside the organization. Do not click links or open attachments unless you
     recognize the sender and know the content is safe.
Hi Bill,

 Pleasure speaking with you this afternoon. We have verified the transactions are legitimate. Appreciate your diligence
though.



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Bill, on a side note, you might want to talk to someone in your IT teams who is responsible for email. When I was
analyzing the header of the email you sent us, I noticed this SPF error in the email:
Received‐SPF: PermError (protection.outlook.com domain of scucu.com used an invalid SPF mechanism)
this means the SPF record cannot be used to verify the sending email server for SCU is correct


Regards,
John Matusiak
Lead – Incident Response
Information Security & Risk
Takeda Pharmaceuticals Company Limited
650 East Kendall St 5th Floor South Cambridge, MA 02142
E‐mail: john.matusiak@takeda.com| Office: +1 617 374 7721 | Mobile: +1 617 519 9450




For more information security tips, please visit ISR on myTakeda. | Be security aware and join the conversation on Yammer.
Please report any suspicious activity or potential information security incidents to cybersecurity@takeda.com


From: William Moore <WMoore@scucu.com>
Sent: Thursday, June 23, 2022 7:51 AM
To: Di Leo, Gerardo <Gerardo.DiLeo@takeda.com>
Subject: Potential Fraud Event ‐ URGENT ‐ 2nd request
Good morning Mr. Di Leo, We have a new business member here at the Sharon & Crescent United Credit Union (Sharon, MA) and he has received two large ACH credit payment transactions that were originated from Takeda on 6/6/2022 and 6/10/2022.




Good morning Mr. Di Leo,

We have a new business member here at the Sharon & Crescent United Credit Union (Sharon, MA) and he has received
two large ACH credit payment transactions that were originated from Takeda on 6/6/2022 and 6/10/2022. They are for
$460,000.00 each.

We have a lot of red flags regarding these transactions.

Could you please confirm if this is fraud or a legitimate client of Takeda? See Master services agreement provided by
Evoluzione Consulting LLC out of Brockton. Please call me directly at 781‐793‐2876

Thank you,
Bill




William Moore
Chief Risk Officer
30 Pond Street, Sharon MA 02067
P 781-793-2876 F 781-793-2876
www.scucu.com




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